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                       EXHIBIT CC
Case 2:90-cv-00520-KJM-SCR                     Document 3435-7          Filed 12/23/08        Page 2 of 8
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            Attorneys for Sheriff, Police Chief, and
      8     Chief Probation Intervenor-Defendants
      9
  10                               IN THE UNITED STATES DISTRICT COURTS
  11                             FOR THE EASTERN DISTRICT OF CALIFORNIA
  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA
  13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  14                     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
           RALPH         COLEMAN, et al.,                     Case No: CIV S-90-0520 LKK JFM P
 16
                            Plaintiffs,                       THREE-JUDGE COURT
 17
                   VS.
 18
           ARNOLD         SCHWARZENEGGER, et
 19        al.,
 20                          Defendants.
 21
                                                             [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                             CaseNo.: C01-1351 TEH
 23        MARCIANO           PLATA, et al.,
                                                             THREE-JUDGE COURT
 24                          Plaintiffs,
                                                             INTERVENOR-DEFENDANT MERCED
 25                VS.                                       COUNTY SHERIFF'S RESPONSES TO
                                                             PLAINTIFFS' FIRST SET OF
 26        ARNOLD         SCHWARZENEGGER, et                 INTERROGATORIES
           al.,
 27
                            Defendants.
 28
                                                            -1-
             INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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      1   PROPOUNDING PARTIES:                   Plaintiffs, MARCIANO PLATA, et al.
      2   RESPONDING PARTY:                      Intervenor-Defendant, MERCED COUNTY SHERIFF
      3   SET NUIVIB.ER:                         One (1)
      4            TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
      5            Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant
      6   Merced County Sheriff separately and fully responds to Plaintiffs' First Set of
      7   Interrogatories as follows:
      8                         Preliminary Statement and General Obiections
      9             1.    Intervenor-Defendant has not completed investigation of the facts relating
 10       to this case, has not completed discovery in this action and has not completed preparation

 11       for trial. Therefore, these responses, while based on diligent factual exploration, reflect
 12       only Intervenor-Defendant's current state of knowledge, understanding, and belief with
 13       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
 14       the right to supplement these responses with subsequently obtained or discovered
 15       information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 16       notwithstanding these answers and responses, to employ at trial or in any pretrial
 17       proceeding herein information subsequently obtained or discovered, information the
 18       materiality of which is not presently ascertained, or information Intervenor-Defendant
 19       does not regard as coming within the scope of the interrogatories as Intervenor-Defendant
 20       understands them.
 21                2.     These responses are made solely for the purpose of this action. Each
 22       answer    is subject to all objections as to competence, relevance, materiality, propriety,
          admissibility, privacy, privilege, and any and all other objections that would require
 24       exclusion of any statement contained herein if any such interrogatories were asked of, or
 25       any statement contained herein if any such interrogatories were asked of, or any
 26       statement contained herein were made by, a witness present and testifying in court, all of
 27       which objections and grounds are reserved and may be interposed at the time of trial.
 28               3.     Except for explicit facts admitted herein, no incidental or implied
                                                          -2-
           INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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      1   admissions are intended hereby. Intervenor-Defendant's answers or objections to any
      2    interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
      3   In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
      4   interrogatory is not a waiver of part or all of any objection he might make to that
      5   interrogatory, or an admission that such answer or objection constitutes admissible
      6   evidence. Intervenor-Defendant asserts these objections without waiving or intending to
      7   waive any objections as to competency, relevancy, materiality or privilege.
      8           4.      To the extent Intervenor-Defendant responds to these interrogatories, the
      9   responses will not include information protected by the right of privacy. All objections
 10       on the grounds of constitutional and common law privacy rights are expressly preserved.

 11               5.       Intervenor-Defendant objects to each and every Interrogatory to the extent
 12       that Plaintiffs are requesting information that is neither relevant to the subject matter of
 13       this action nor reasonably calculated to lead to the discovery of admissible evidence.
 14               6.      Intervenor-Defendant objects to the Interrogatories to the extent that they.
 15       are vague and ambiguous and do not include adequate definition, specificity, or limiting

 16       factors.
 17                  7.     Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 18       the term "PERSON." The definition is vague, ambiguous, and overbroad as used in these
 19       Interrogatories.
 20               Subject to and without waiving the foregoing objections, and incorporating them
 21       by reference into each of the responses provided below, Intervenor-Defendant hereby
 22       responds as follows:
 23       INTERROGATORY NO. 1:
 24                  From January 1, 1995 until the present, have any limit(s) been in place, as the
 25       result of any lawsuit, on the number of people that can be housed in any jail operated
26        and/or maintained by YOU? If so:
27                       (a)       State the name, date and case number of every case which resulted iv
28        any such limit(s).
                                                           -3-
           INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROOATORIES
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           RESPONSE TO INTERROGATORY NO. 1:
                      In addition to the General Objections stated above, Intervenor-Defendant objects
           to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
          extent that it seeks information not relevant to this litigation nor reasonably calculated to
          lead to the discovery of admissible evidence.
                  Without waiving and subject to the objections, Intervenor-Defendant responds:
          Nicholas Torres, et al. v. County ofMerced, et al., United States District Court for the
          Eastern District of California, No. CIV-S 93-0357 GEB JFM, Stipulation and Order filed
      9   April 16, 1993.
  10      INTERROGATORY NO. 2:
 11                   In any instance, from January 1, 1995 until the present, in which any limit(s) have
 12       been in place on the number of people that can be housed in any jail operated and/or
 13       maintained by YOU, what mechanisms were used to comply with those limits?
 14                           (a)     Identify all DOCUMENTS which relate to YOUR answer.
 15                           (b)     Identify all PERSONS whom YOU believe or suspect have
 16       information to support YOURanswer.
 17       RESPONSE TO INTERROGATORY NO. 2:
 18                   In addition to the General Objections stated above• Intervenor-Defendant objects
 19       to this interrogatory      on   the grounds that it is vague, ambiguous and overbroad; to the
 2O       extent that it seeks information not relevant to this litigation nor reasonably calculated to
 21       lead to the discovery of admissible evidence.
 22                   Without waiving and subject to the objections, Intervenor-Defendant responds:
 23       Pursuant to Rule 33(d) please see letter dated May 12, 1993 from Sheriff Tom Sawyer
 24       regarding release of inmates incarcerated at Merced County's jails.
 25       (a) Letter dated May 12, 1993 from SheriffTom Sawyer regarding release of inmates
 26       incarcerated at Merced County's jails.
 27       (b)         Commander Scott.
 28       ///
                                                               -4-
                INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           1     INTERROGATORY NO. 3:
       2                    From January 1, 1995 until present, how many people have had their releases from
       3         any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
       4         on    the number of people that can be housed in that jail?
       5                            (a)     Identify all DOCUMENTS which relate to YOUR answer.
       6                            (b)     Identify all PERSONS whom YOU believe or suspect have
       7        information to support YOUR            answer.

       8        RESPONSE TO INTERROGATORY NO. 3:
      9                    In addition to the General Objections stated above, Intervenor-Defendant objects
  10            to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
  11            extent that it seeks information not relevant to this litigation nor reasonably calculated to
  12            lead to the discovery of admissible evidence.
  13                    Without waiving and subject to the objections, Intervenor-Defendant responds:
  14            Approximately 1,622 from January 2004 through March 2008.
  15            (a) Accelerated re/ease charts for 2004 and 2005; monthly accelerated release reports.
  16            (b) Commander Scott.
 17             INTERROGATORY NO. 4:
 18                        What_ ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
 19            January 1, 1995 until present, in any county in which YOU operate and/or maintain a
 20            jail?
 21                          (a) For each such program, describe the mission and/or purpose of the
 22            placement program.
 23                          (b) For each such program, identify what criteria are used to decide who
 24            may enter the program.
 25                                (c)     Identify all DOCUMENTS which relate to YOUR answer.
 26                                (d)     Identify all PERSONS whom YOU believe or suspect have
 27            information to support YOUR            answer.

 28            ///
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                     INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1   RESPONSE TO INTERROGATORY NO. 4:
   2                   In addition to the General Objections stated above, Intervenor-Defendant objects
      3    to this interrogatory      on   the grounds that it is vague, ambiguous and overbroad; to the
   4       extent that it seeks information not relevant to this litigation nor reasonably calculated to
   5       lead to the discovery of admissible evidence.
   6                   Without waiving and subject to the objections, Intervenor-Defendant responds:
   7       (a)         The Alternative Work Program is designed to ensure that offender/participants
   8                  satisfy their court sentences without incarceration through work assignments at
   9                  various community sites contracted with the Offices of the Sheriff, allowing the
  10                  continuation of their regular employment and family responsibilities.
  11       (b)        Generally, a person must serve a minimum 30 days' sentence. Applicants are
  12                  evaluated on a case-by-case basis, based on various criteria, including nature of
  13                  the crime, prior history, failures to appear in court, court's preference.
  14       (c)        Policy relating to Custody Alternative Program.
  15       (d)         Commander Scott.
  i6
  17       (a)        The Electronic Home Detention Program maximizes alternatives to traditional
  18                   incarceration while ensuring public safety. It provides for public safety, maintains
  19                  judicial confidence, and allows the offender/participant to be a contributing
 20                   member of society while completing their court sentence.
 21        (b)        Individuals are given the opportunity to apply through a court referral. They are
 22                   limited statutorily to those defined under Penal Code section 1203.016 and are
 23                   screened to ensure that they meet selection criteria.
 24        (c)        Electronic Home Detention Policy.
 25        (d)         Commander Scott.
 26        ///
 27        ///
 28        ///
                                                                 -6-
                 INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROOATORIES
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          I   DATED:      May5,2008                         Respectfully submitted,
                                                            JONES & MAYER
       2

                                                            By:
      4
                                                                    Attorfie•s for Sheriff, Probation, Police
                                                                    Chief, and Corrections Intervenor-
                                                                    Defendants
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              INTERVENOR-DEFENDANT MERCED COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
